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In Re Subpoena To

Case Number: 1:18-mc-00090 (JEB)

Recording Industry Association of America

 

AFFIDAVIT OF SERVICE

l, l\/lark A. Russell, Jr., a Private Process Server, being duly sworn, depose and say:

That l have been duly authorized to make service of the Grande Comrnunication Networks LLC's Motion to Compel, Order, and
Grande Communication Networks LLC's Corporate Disclosure Statement in the above entitled case.

That l am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 07/l2/20] 8 at l l :30 Al\/l, l served Recording Industry Association of America, c/o Registered Agent, Corporation
Services Company With the Grande Communication Networl<s LLC's l\/lotion to Compel, Order, and Grande Communication
Networks LLC's Corporate Disclosure Statement at CSC, 1090 Vermont Avenue, NW, Washington, DC 20005 by serving
Amanda Baines, Litigation l\/lanagement Representative, authorized to accept service.

Amanda Barnes is described herein as:

Gender:Female Race/Skin:Black Age: 23 Weight:lSO Height:§'$" Hair:Black Glasses:No

l declare under penalty of perjury that this information is true.

 

 

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Executed On`

 

 

 

C|ient Ref Number:N/A
Job #: 1547950

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 200()9 | (2()2) 667-0050

